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 1 MCGUIREWOODS LLP
   Ava E. Lias-Booker (Admitted pro hac vice)
 2 alias-booker@mcguirewoods.com
   Melissa O. Martinez (Admitted pro hac vice)
 3 mmartinez@mcguirewoods.com
   Alicia A. Baiardo (SBN: 254228)
 4 abaiardo@mcguirewoods.com
   Jasmine K. Gardner (Admitted pro hac vice)
 5 jgardner@mcguirewoods.com
   Two Embarcadero Center
 6 Suite 1300
   San Francisco, CA 94111-3821
 7 Telephone: 415.844.9944
   Facsimile: 415.844.9922
 8
   WINSTON & STRAWN LLP
 9 Amanda L. Groves (SBN: 187216)
   agroves@winston.com
10 Kobi K. Brinson (Admitted pro hac vice)
   kbrinson@winston.com
11 Stacie C. Knight (Admitted pro hac vice)
   sknight@winston.com
12 Winston & Strawn LLP
   333 S. Grand Avenue, 38th Floor
13 Los Angeles, CA 90071
   Telephone: (213) 615-1700
14 Facsimile: (213) 615-1750

15
     Attorneys for Defendant Wells Fargo Bank, N.A.
16

17                             UNITED STATES DISTRICT COURT

18                           NORTHERN DISTRICT OF CALIFORNIA

19

20 In re Wells Fargo Mortgage                         CASE NO. 3:22-CV-00990-JD
   Discrimination Litigation
21                                                    The Hon. James Donato
22                                                    DEFENDANT WELLS FARGO BANK,
                                                      N.A.’S NOTICE OF MOTION AND
23                                                    MOTION TO DISQUALIFY
                                                      PLAINTIFFS’ EXPERT AND REQUEST
24                                                    FOR EVIDENTIARY HEARING
25                                                    Date: May 23, 2024
                                                      Time: 10:00 a.m.
26                                                    Courtroom: 11
27

28
                 DEFENDANT WELLS FARGO BANK, N.A.’S NOTICE OF MOTION AND
                        MOTION TO DISQUALIFY PLAINTIFFS’ EXPERT
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 1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE that on May 23, 2024 at 10:00 a.m., or as soon thereafter as

 3 counsel may be heard, in Courtroom 11, 19th Floor, before the Honorable James Donato, Defendant

 4 Wells Fargo Bank, N.A. (“Wells Fargo”) will and hereby does move for an Order disqualifying

 5 Dante Jackson (“Mr. Jackson”) as an expert witness for Plaintiffs because: (1) Mr. Jackson

 6 previously worked as an underwriter for Wells Fargo for several years; (2) is bound by numerous

 7 confidentiality agreements with Wells Fargo; (3) gained access to Wells Fargo’s confidential and

 8 proprietary information related to its underwriting policies, procedures, and systems during the

 9 course of his employment, which is not only relevant, but are in fact central, to the current litigation;

10 (4) has publicly displayed his vehement disdain for Wells Fargo such that allowing him to testify as

11 an expert would undermine the integrity of the judicial system; and (5) fundamental fairness dictates

12 his disqualification.

13          This motion is based upon this Notice of Motion and Motion, the accompanying

14 Memorandum of Points and Authorities, the Declaration of Shelly L. Johnson and exhibits thereto,

15 all pleadings and papers on file in this action, oral argument as permitted by the Court, and any such

16 other matters that the Court deems appropriate. Wells Fargo requests an evidentiary hearing.

17                                              Respectfully submitted,

18 DATED: April 12, 2024                             MCGUIREWOODS LLP
19
                                                By: /s/ Ava Lias-Booker
20                                                  Ava E. Lias-Booker (admitted pro hac vice)
                                                    alias-booker@mcguirewoods.com
21                                                  Alicia A. Baiardo
                                                    abaiardo@mcguirewoods.com
22                                                  Melissa O. Martinez (admitted pro hac vice)
23                                                  mmartinez@mcguirewoods.com
                                                    Jasmine K. Gardner (admitted pro hac vice)
24                                                  jgardner@mcguirewoods.com
                                                    Two Embarcadero Center, Suite 1300
25                                                  San Francisco, CA 94111-3821
                                                    Telephone: (415) 844-9944
26                                                  Facsimile: (415) 844-9922
27

28                                          i
           DEFENDANT WELLS FARGO BANK, N.A.’S NOTICE OF MOTION AND MOTION TO
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 1
                                       WINSTON & STRAWN LLP
 2                                     /s/ Amanda L. Groves
                                        ___________________________________
                                       Amanda L. Groves
 3
                                       agroves@winston.com
 4                                     333 S. Grand Avenue, 38th Floor
                                       Los Angeles, CA 90071
 5                                     Telephone: (213) 615-1700
                                       Facsimile: (213) 615-1750
 6

 7                                     Kobi K. Brinson (admitted pro hac vice)
                                       kbrinson@winston.com
 8                                     Stacie C. Knight (admitted pro hac vice)
                                       sknight@winston.com
 9                                     300 South Tryon Street, 16th Floor
                                       Charlotte, NC 28202
10                                     Telephone: (704) 350-7700
11                                     Facsimile: (704) 350-7800

12                                     Attorneys for Defendant
                                       Wells Fargo Bank, N.A.
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2          I.      INTRODUCTION

 3          This is one of the rare cases in which the law unequivocally requires disqualification of a
 4 party’s expert. Mr. Dante Jackson is a former Wells Fargo employee and officer who agreed to

 5 protect the company’s confidential and proprietary information. In his role as a former employee

 6 and officer of the bank, Mr. Jackson was privy to confidential and proprietary information, policies

 7 and procedures, and systems directly relating and, in fact, central to the subject matter of this lawsuit:

 8 loan underwriting. He is now using that insider knowledge as a paid expert in direct violation of

 9 the terms of his confidentiality agreements with Wells Fargo.

10          Mr. Jackson had not one, but three tenures at Wells Fargo. He started as a contract
11 underwriter. And during both of his full-fledged employment periods with the bank, Mr. Jackson

12 signed agreements in which he promised not to disclose Wells Fargo’s confidential and proprietary

13 trade secrets and information. He further agreed, in writing, not to use any proprietary information

14 for his own gain after he left the bank. Yet that is precisely what he has done. Here, he seeks to

15 take the stand, cloaked with the authority of an expert, and use his knowledge of Wells Fargo’s

16 confidential and proprietary information, policies and procedures, and systems, against his former

17 employer, thus violating the agreements he signed. Mr. Jackson cannot compartmentalize and lock

18 away his confidential and proprietary knowledge for the purposes of this lawsuit. As courts

19 nationwide have observed in similar cases, the human brain simply does not work that way.

20 Likewise, the need to disqualify Mr. Jackson is heightened, as he is neither neutral nor unbiased.

21 Mr. Jackson has made his disdain for Wells Fargo abundantly clear through podcasts and YouTube

22 videos, claiming Wells Fargo employees “don’t care” about certain customers and asking customers

23 to contact him to give him data about being unfairly denied a mortgage—claiming this data is needed

24 to punch them in the face. These public statements have plainly established his inability to remain

25 objective in his evaluation of the facts—a key skill for any expert witness. The Court should

26 disqualify Mr. Jackson.

27          The prejudice to Wells Fargo of having a former officer testifying against it as an expert
28 witness severely outweighs any potential prejudice to Plaintiffs. As part of the meet and confer
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 1 process in advance of this Motion, Wells Fargo offered Plaintiffs additional time to replace Mr.

 2 Jackson with an expert untainted with insider knowledge. Plaintiffs rebuffed Wells Fargo’s offer.

 3 Instead, they sought to proceed with Mr. Jackson’s deposition and push Wells Fargo into the

 4 untenable position of accepting Mr. Jackson as a designated expert and potentially waiving its rights

 5 to disqualify him. Accordingly, to the extent the Court denies the instant Motion, Wells Fargo seeks

 6 leave to extend the expert discovery deadline for the sole purpose of deposing Mr. Jackson.

 7             II.     FACTUAL BACKGROUND

 8                     A.      Mr. Jackson Worked As A Contract Underwriter Then Held Various
                               Underwriting And Officer Positions At Wells Fargo From 2001 Through
 9                             2007 And Agreed To Keep Wells Fargo’s Confidential Information,
10                             Proprietary Information, And Trade Secrets Confidential.

11             From 2001 to 2004, Mr. Jackson was a contract underwriter for Silicon Valley Staffing,

12 which, at the time, had a contract to perform loan underwriting for Wells Fargo. See Declaration

13 1, Declaration of Shelly L. Johnson, ¶ 3. On August 17, 2004, Wells Fargo sent an offer of

14 employment to Mr. Jackson as HCFG Underwriter 4, which Mr. Jackson accepted that same day.

15 See id., ¶ 4. As part of his employment with Wells Fargo, Mr. Jackson signed several agreements

16 in which he agreed to keep Wells Fargo’s confidential and proprietary information confidential.

17 Specially, on the same day Wells Fargo hired him, on August 17, 2004, Mr. Jackson signed the

18 Team Member Acknowledgement, which states that he “received, or under[stood] that he will be

19 provided, the Handbook for Wells Fargo Team Members” and affirmed that he “read and will adhere

20 to the Code of Ethics and Business Conduct and the Information Security Policy.” See id., ¶ 5; see
                 1
21 also Exhibit A , Team Member Acknowledgement.

22             The Code of Ethics and Business Conduct included in the Handbook for Wells Fargo Team

23 Members effective as of June 2004, and which Mr. Jackson received, includes a section entitled

24                                   Exhibit B, 2004 Handbook at 105-106.

25 section informs Wells Fargo employees that they have a

26

27

28   1
         The lettered exhibits herein refer to the exhibits to Declaration 1, Declaration of Shelly L. Johnson.
                                               2
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 6                                                                                   Id. at 106 (emphasis

 7 added).

 8           On August 18, 2004, Mr. Jackson signed the Information Security Briefing Checklist.

 9 Exhibit C, Information Security Briefing Checklist. In signing this document, Mr. Jackson

10

11                                           and that he agreed to follow the

12                             Id. at 4, 9. This same document

13                                                                                Id. at 1.

14                                                                                    Id.

15           On August 23, 2004, Wells Fargo hired Mr. Jackson for the position of Underwriter 4.

16 Declaration 1, Declaration of S. Johnson, ¶ 8. On March 13, 2006, Mr. Jackson was promoted

17 within Wells Fargo and given the officer title designation of an Assistant Vice President. Id. at ¶ 9.

18 A few months later, he was promoted to Vice President within Wells Fargo’s Credit Risk

19 Management Department—also an officer title designation—and he remained in that position until

20 he left Wells Fargo in 2007. Id. at ¶¶ 10, 12. Officer titles provide Wells Fargo employees with the

21 authority to act on behalf of Wells Fargo and, because officers have specific rights, responsibilities,

22 and authorities, the officer title is required to be used with discretion. Id. at 11. As an officer, Mr.

23 Jackson was required to comply the Code of Ethics and Wells Fargo policies and standards. Id.

24                  B.      In 2013, Wells Fargo Hired Mr. Jackson Again As An Underwriter And
                            Mr. Jackson Signed Two Additional Agreements Related To
25                          Confidentiality.
26           In 2013, Mr. Jackson again applied for employment at Wells Fargo. On January 10, 2013,
27 Wells Fargo extended Mr. Jackson an offer of employment as a Consumer Loan Underwriter 5 (the

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 1 attested that he had been provided the Wells Fargo Team Member Handbook operative at that time,

 2 and that he would adhere to the terms of the Handbook. Exhibit F, Feb. 7, 2013 Team Member

 3 Acknowledgement. Similar to the Handbook for Wells Fargo Team Members in effect in the 2004-

 4 2007 timeframe, the 2013 Handbook for Wells Fargo Team Members includes multiple sections on

 5 confidential and proprietary information. Exhibit G, 2013 Handbook at 40-42. The January 2013

 6 Handbook for Wells Fargo Team Members states,

 7

 8                                                         . at 42 (emphasis added).

 9                 C.      While Working At Wells Fargo, Mr. Jackson Gained Knowledge Of,
                           And Had Access To, Wells Fargo’s Confidential And Proprietary
10                         Information And Trade Secrets Related To Underwriting.
11          In Mr. Jackson’s role as a contract underwriter and in his various underwriter and officer
12 positions at Wells Fargo, Mr. Jackson was privy to trade secrets, confidential information, and

13 proprietary systems regarding underwriting.      See generally Declaration 1, Declaration of S.
14 Johnson.      Lenders like Wells Fargo may develop their own confidential and proprietary
15 underwriting systems and policies and procedures to underwrite loans consistent with the

16 requirements of the government sponsored enterprises (“GSEs”), e.g., Fannie Mae and Freddie Mac.

17 United States v. Quicken Loans Inc., 239 F. Supp. 3d 1014, 1019-20 (E.D. Mich. 2017). In an

18 unrelated case in which he was proffered as an expert witness, Mr. Jackson testified at length about

19 his extensive knowledge of Wells Fargo’s confidential and proprietary policies and procedures

20 relating to loan underwriting–knowledge that he gained while employed at Wells Fargo. See

21 generally Deposition Transcript of D. Jackson dated January 5, 2017 in support of Motion in Limine

22 to Exclude the Proposed Expert Testimony of Dante Jackson, First Horizon National Corporation

23 et al. v. Houston Casualty Company et al., No. 2:15-cv-2235 (W.D. Tenn. Apr. 14, 2017), ECF No.

24 291-7 (“Jackson Tran.”).

25          He explained that Wells Fargo’s internal underwriting guidelines are indeed proprietary:
26          Q:     And when you talk about internal underwriting guidelines for different loan
27                 products, would those be proprietary guidelines that are owned by Wells
                   Fargo at that time?
28          A:     Yes.
                                            5
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 1          Q:      Okay. And in order to formulate Wells Fargo’ proprietary underwriting
                    guidelines for, let’s say, GSE-conforming loans, you would have to look at
 2                  the GSE’s underwriting standards and requirements in order to do that,
                    correct?
 3
            A:      Yes.
 4          Q:      The idea is that the --- Well Fargo’s proprietary guidelines will incorporate
                    the requirements of the GSEs, right?
 5          A:      Yes –
            Q:      Okay.
 6          A:      -- for the GSE product.
 7 See id. at 59:3-22 (emphasis added); id. at 123:1-10 (“Q: We touched on this earlier, but what do

 8 you mean by a ‘proprietary set of underwriting guidelines’? A: So a lender could have their own

 9 underwriting guidelines that, while not superseding the investors’ guidelines, it’s how – what their

10 risk appetite is. So their risk appetite typically would be more stringent than an investor’s. Could

11 be.”).

12         When asked about his involvement in the development of underwriting guidelines and
13 training materials at Wells Fargo, Mr. Jackson testified that he was part of the “credit policy team

14 and the wholesale underwriting manager team” and he “would collaborate with [his] other

15 underwriter managers around the country, and, you know, [they] would sit down and kind of hash

16 out, you know, what’s acceptable, what's not acceptable, what [their] risk appetite would be for a

17 particular loan or particular program.” Id. at 56:24- 57:2-14. From 2004 to 2006, he was involved

18 with formulating and implementing Wells Fargo’s “corporate underwriting policies and

19 procedures,” id. at 49:8-100, and was “one of the underwriters responsible for the nonprime books

20 of business . . . [s]o . . . [he] reviewed credit policy; trained the underwriters on how to underwrite

21 nonprime loans . . .; and also conducted monthly audits on the underwriters and their underwriting.”

22 See id. at 49:12-24. He explained that he was responsible for auditing underwriters and making sure

23 “they’re complying with guidelines and taking acceptable risk.” Id. at 50:11-15.

24          Mr. Jackson further testified that, as “a senior underwriter team lead for a particular
25 underwriting team[, he] . . . had a $1 million . . . . single signature authority on loans . . . [meaning

26 he] could originate and sign off on loans – actually . . . [he] could underwrite loans up to a million

27 dollars without a second signature.” Id. at 48:4-11.

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 1 trained teams utilizing Wells Fargo’s confidential and proprietary risk engine and its predecessor

 2 systems.

 3          Further, during Mr. Jackson’s tenure, Wells Fargo implemented the use of its confidential

 4 and proprietary mortgage application platform, “CORE” (Common Opportunities Results and

 5 Experience). Wells Fargo uses “CORE” as its mortgage loan processing system. Id. CORE is a

 6 dynamic web-based system that reduces the complexity of the underwriting process to have all

 7 underwriting tools on the same platform, allowing Wells Fargo Home Lending team members to

 8 process a loan from origination to funding. Id. Moreover, Mr. Jackson’s opinion explicitly discusses

 9 Wells Fargo’s proprietary CORE system, Jackson Report at 1, 8, 12, to which Mr. Jackson became

10 privy while employed by Wells Fargo.

11                 E.     Plaintiffs Failed To Disclose That Mr. Jackson Was Employed By Wells
                          Fargo In 2013 Or Confer with Wells Fargo Despite Being On Notice That
12                        He Was Privy To Wells Fargo’s Proprietary Information At The Heart
                          Of This Case.
13

14          Although Plaintiffs did not designate Mr. Jackson as an expert witness in this case until

15 March 22, 2024, Plaintiffs retained Mr. Jackson months earlier, in or around December of 2023. D.

16 Jackson Engagement Agreement (“Jackson Engagement Letter”). When Plaintiffs finally disclosed

17 Mr. Jackson’s designation as an expert in this case, they produced a copy of Mr. Jackson’s CV that

18 omitted his 2013 employment at Wells Fargo. Jackson Report at Appendix B at 2-3. Plaintiffs

19 sought to underplay Mr. Jackson’s work history and experience with Wells Fargo’s underwriting

20 policies and procedures, as further evidenced by the summary of Mr. Jackson’s work experience in

21 Mr. Jackson’s report. See Jackson Report at 2. Pursuant to subpoena, Plaintiffs produced Mr.

22 Jackson’s expert fee invoices. He has incurred roughly $75,000 for his services in this case.

23          Upon learning of Mr. Jackson’s expert witness designation, Wells Fargo moved quickly to

24 uncover the nature and extent of Mr. Jackson’s employment at the bank, which was hampered by

25 his omission of his 2013 employment. Accordingly, it was not until recently that Wells Fargo

26 learned of Mr. Jackson’s intimate familiarity with Wells Fargo’s underwriting systems and policies

27 and procedures through the various positions he has held at Wells Fargo over the years, and of all

28 of the agreements Mr. Jackson signed that either include or reference restrictions on Mr. Jackson’s
                                            8
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 1 ability to disclose Wells Fargo’s confidential and proprietary information and trade secrets.

 2            Although several months passed between Plaintiffs’ retaining Mr. Jackson and designating

 3 Mr. Jackson as an expert witness, it appears that they never inquired whether Mr. Jackson was bound

 4 by any confidentiality agreements even though they were aware of his former employment at Wells

 5 Fargo. This failure is remarkable given that Mr. Jackson’s testified, in a deposition in the only other

 6 case in which he appeared as an expert witness, that he was privy to Wells Fargo’s confidential and

 7 proprietary systems and information that goes directly to the issues in this case and his proffered

 8 testimony specifically.

 9            As part of the meet and confer process, Wells Fargo provided Plaintiffs copies of the

10 applicable agreements on April 10, 2024, promptly after discovering and reviewing them, cancelled

11 Mr. Jackson’s deposition, and offered Plaintiffs additional time to find a replacement expert witness

12 not bound by similar agreements.

13                    F.     Mr. Jackson Is Biased.

14            Mr. Jackson has been very public about his disdain for Wells Fargo and has solicited bank
15 customers to contact him. He maintains a podcast via YouTube, known as the Deacon Board

16 Podcast,2 through which he uploads videos on various topics. At least three videos that Mr. Jackson

17 has previously uploaded included negative commentary related to Wells Fargo generally, and Wells

18 Fargo’s loan approval process specifically.

19            Most notably, on March 21, 2022, over a year before Plaintiffs purportedly retained Mr.
20 Jackson in this litigation, Mr. Jackson uploaded an episode of his podcast labeled “Banks ain’t sh*%

21 but H*^% & Tricks.” On April 11, 2024, attorneys at McGuireWoods watched this podcast on

22 YouTube at the following address: https://www.youtube.com/watch?v=DV4xtrPvZXI. However,

23 within an hour of watching the video and shortly after counsel for Wells Fargo alerted Plaintiffs of

24 this impending motion, the video was mysteriously “removed by the uploader.” The same applies

25 for another episode where Mr. Jackson discussed Wells Fargo, labeled “He Wanted Smoke and Got

26

27
     2
28       An alternative title for this podcast is “BWB Banking While Black.”
                                              9
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 1 It.”3                  In      any      event,       they       are      still      available       at

 2 https://www.listennotes.com/search/?q=%22The+Deacon+Board+Podcast%22&scope=episode.

 3 McGuireWoods has downloaded these podcasts and is able to make them available to the Court and

 4 all counsel in any acceptable format. Upon learning that these podcast episodes have been removed,

 5 counsel for Wells Fargo sent correspondence to Plaintiffs’ counsel advising them of this fact and

 6 requesting that they instruct Mr. Jackson to refrain from removing, deleting, or destroying any

 7 further episodes of his podcast or other materials he has posted online or in the public domain that

 8 may reference Wells Fargo.

 9            In these podcasts, he and others generally discussed the perceived difficulty in obtaining

10 mortgages and loans and how “the system” is designed to exclude Black people. Mr. Jackson

11 expressly stated that he “sat in a room” with several Wells Fargo employees and that “they don’t

12 care” about certain customers. Later in the podcast, Mr. Jackson solicited his listeners, “[i]f

13 anyone’s been denied a mortgage from Wells Fargo, unfairly denied a mortgage at Wells Fargo, any

14 bank, let me know . . . I need data.” This data, he claims, is important to punch them in the face.

15            III.   ARGUMENT

16                   A.        The Court Should Disqualify Mr. Jackson Because Mr. Jackson Signed
                               Confidentiality Agreements With Wells Fargo And, Pursuant To Those
17                             Agreements, He Acquired Confidential And Proprietary Information
18                             About Wells Fargo’s Underwriting Process That Is Central To The
                               Instant Case.
19
              This Court has long recognized that “disqualification may be appropriate . . . when a party
20
     retains expert witnesses who previously worked for an adversary and who acquired confidential
21
     information during the course of their employment.” Space Systems/Loral v. Martin Marietta, No.
22
     95-20122 SW, 1995 WL 686369, at *2 (N.D. Cal. Nov. 15, 1995); see also Pellerin v. Honeywel
23
     Intern Inc., No. 11cv1278-BEN (CAB), 2012 WL 112539 at *2 (S.D. Cal. Jan. 12, 2012) (holding
24
     same). To disqualify an expert witness based on a prior relationship with an adversary, the moving
25
     party must show (1) the adversary had a “confidential relationship with the expert” and (2) “the
26

27
     3
28       Previously available at: https://www.youtube.com/watch?v=PuudNoJ7r4I.
                                              10
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 1 adversary disclose[d] confidential information to the expert that is relevant to the current litigation.”

 2 Space Systems/Loral, 1995 WL 686369, at *2; see also Pellerin, 1995 WL 686369, at *2. If there

 3 is any doubt as to the balance of interests related to the disqualification of an expert, it “is to be

 4 resolved in favor of disqualification.” Marvin Lumber & Cedar Co. v. Norton Co., 113 F.R.D. 588,

 5 592 (D. Minn. 1986).

 6          California federal courts routinely disqualify former employees from serving as an expert

 7 witness for an adversary when the moving party establishes the existence of a confidentiality

 8
     agreement with the former employee and that the moving party shared confidential information with
 9
     the former employee that is relevant to the issues in the case. For example, in Space Systems/Loral,
10
     this Court granted the defendant’s motion to disqualify its former employee and consultant,
11

12 Muhlfelder, from serving as an expert witness in a lawsuit alleging patent “infringement of two of

13 [the plaintiff’s] patents by [the defendant’s] Series 7—and Hughes’ HS-601 satellite technology.”

14 1995 WL 686369 at *1-2. “As an initial matter, Muhlfelder’s employment and consulting activities

15 for [the defendant] required him to sign numerous confidentiality agreements promising not to

16
     disclose any trade secrets or other confidential information.” Id. The confidentiality agreement was
17
     necessary because, through his employment at the defendant corporation, “Muhlfelder was privy to
18
     substantial confidential information from [the defendant] that is relevant to the issues in the case.”
19

20 Id. In fact, “Muhlfelder had significant involvement in designing the attitude control systems for

21 the Series 3000, 4000, 5000, and 7000 satellites” and “[h]e was also the named inventor of several

22 [of the defendant’s] patents relating to attitude control.” Id. “After his retirement, Muhlfelder’s

23 consulting activities for [the defendant] and its customers allowed him access to confidential attitude

24
     control technology.” Id. Accordingly, the Court held that Muhlfelder was disqualified from serving
25
     as the plaintiff’s expert witness.
26
            Similarly, in Pellerin, the Court held that the defendants’ former employee, Mr. Fleming,
27
     was disqualified from testifying as an expert for the plaintiff. In that case, “Mr. Fleming [was] a
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                                            11
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 1 former employee of the division of the defendant responsible for the manufacture of its earplug

 2 products” and the plaintiff retained him as an expert witness in support of their trade secret

 3 misappropriation claim against the defendant. Pellerin, 1995 WL 686369, at *1. In applying the

 4 two-part test for disqualification, the Court reasoned, first, that, “it is undisputed that Mr. Fleming

 5 was a former employee of defendants and in relation to his employment entered into confidentiality

 6 agreements with the defendants that bind him to keep confidential information he obtained during

 7 his employment.” Id. With respect to the second factor, the Court explained that “Defendants have

 8 offered testimony by way of declaration that Mr. Fleming received confidential information that is

 9 pertinent to this litigation.” Based on this, the Court found “that both prongs of the test have been

10 met.” Id.

11          Space Systems/Loral and Pellerin have been extensively cited in California, including in Bell

12 Northern Research, LLC v. ZTE Corp. In that case, the Court disqualified a former consultant from

13 testifying as an expert witness because he signed a Consulting Agreement requiring him to maintain

14 confidential and secret information. No. 18cv1789-CAB(BLM), 2019 WL 1590472, at *8 (S.D.

15 Cal. April 12, 2019). The court held that “[t]he Consulting Agreement remains in effect and

16 prohibits Dr. Madisetti from serving as an expert for BNR in this litigation.” Id.

17          Similarly, the Court in Broadcom Corp. v. Emulex Corp. also disqualified a former

18 employee, Mr. Chan, from serving as a litigation consultant after finding that the two-part test had

19 been satisfied. No. SACV0901058JVSANX, 2010 WL 11465478 at *5 (C.D. Cal. Apr. 5, 2010).

20 As a condition of his employment, Mr. Chan was required to sign a confidentiality agreement

21 preventing him from disclosing any “information relating to [Gadzoox’s] research and development,

22 . . . inventions, works of authorship, formulas, creations and discoveries.” Id. Several years after

23 Mr. Chan’s departure, Gadzoox declared bankruptcy and plaintiff Broadcom purchased Gadzook’s

24 intellectual property in January 2003. Id. Defendant Emulex Corp hired Mr. Chan to serve as a

25 litigation consultant in defending from a patent litigation suit asserted by Broadcom. Id. The Court

26 first reasoned that “it is undisputed that Chan signed a confidentiality agreement with Gadzoox,

27 agreeing not to disclose any information related to research and development.” Id. at *2. The Court

28 then held that Mr. Chan “received confidential information related to the development of the
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 1 relevant technology and participated in privileged communications during patent prosecution.” Id.

 2 Thus, the Court found that Mr. Chan “received confidential information related this the [sic]

 3 litigation while employed at Gadzoox.” Id. at *3.

 4          Courts nationwide follow suit in disqualifying former employees with knowledge of

 5 confidential and proprietary information from testifying against their ex-employers as expert

 6 witnesses. See, e.g., Brunstad v. Medtronic, Inc., No. 14-v-255-jdp, 2015 WL1962104, at *2 (W.D.

 7 Wis. Apr. 30, 2015) (granting motion to disqualify former employee because “MiniMed had a

 8 confidential relationship with Causey, who worked under the terms of a written confidentiality

 9 agreement, and during the course of his work, Causey undoubtedly acquired a great deal of

10 confidential information relevant to the current litigation.”); Lake Cherokee Hard Drive Techs., LLC

11 v. Bass Computers, Inc., No. 2:10-CV-216-JRG, 2012 WL 708354, at *3 (E.D. Tex. Mar. 5, 2012)

12 (disqualifying former employee who signed a confidentiality agreement from testifying as an expert

13 witness against his former employer because former employee had confidential information relevant

14 to the litigation); WesternGeco LLC v. ION Geophysical Corp., No. 09-cv-1827, 2010 WL 2266610,

15 at *7 (S.D. Tex. June 2, 2010) (disqualifying a former employee as an expert because

16 the employee gained relevant confidential information related to the litigation); CarboMedics, Inc.

17 v. ATS Med., Inc., No. 06-CV-4601 PJS/JJG, 2008 WL 5500760, at *3 (D. Minn. Apr. 16, 2008)

18 (disqualifying defendants’ former employee from testifying as an expert witness because the

19 employee entered into a confidentiality agreement with its former employer and the former

20 employer disclosed confidential information to the former employee); Sensormatic Elecs. Corp. v.

21 WG Sec. Prods., No. 2:04-CV-167, 2006 WL 5111116, at *9 (E.D. Tex. Feb. 9, 2006) (disqualifying

22 a former employee from testifying as an expert witness because they signed a confidentiality

23 agreement with their employer and possessed confidential information regarding key issues in the

24 litigation based on their prior employment); Brett ex rel. Brett v. Hillerich & Bradsby Co., No. CIV-

25 99-981-C, 2001 WL 36162670, at *1 (W.D. Okla. Oct. 5, 2001) (“The Court finds it inconceivable

26 that Mr. MacKay could testify generally about bat safety in litigation surrounding the Air Attack 2,

27 when his expertise at H & B (made confidential by agreement) is so intertwined with the technology

28 at issue.”).
                                            13
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 1          Here, like the moving parties in Space Systems/Loral, Pellerin, Broadcom Corp., and the

 2 host of cases nationwide, Wells Fargo can satisfy the two-part test for Mr. Jackson’s disqualification.

 3                         1.      Wells Fargo Had A Confidential Relationship With Mr. Jackson.

 4          First, there is no doubt that Wells Fargo had a confidential relationship with Mr. Jackson.
 5 During both of his employment periods with the bank, Mr. Jackson signed agreements in which he

 6 promised not to disclose Wells Fargo’s confidential and proprietary trade secrets and information.

 7          In 2004, Mr. Jackson signed the Team Member Acknowledgement, which incorporated The
 8 Code of Ethics and Business Conduct set forth in the Handbook for Wells Fargo Team Members.

 9 Exhibit A, Team Member Acknowledgement; Exhibit B, 2004 Handbook. The Code of Ethics and

10 Business Conduct informs Wells Fargo employees that they have a

11

12

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17                                                                Id. at 106 (emphasis added).
18          Similarly, in 2013, Mr. Jackson signed the Trade Secrets Agreement, which requires that
19 employees protect Wells Fargo trade secrets and confidential and proprietary information. Exhibit

20 E, Trade Secret and Confidential Agreement at 1-3. Trade Secrets include, among others,

21

22

23

24

25

26                                       Id. (emphasis added).
27          Also in 2013, Mr. Jackson signed a Team Member Acknowledgement, which attested that
28 he had been provided the Wells Fargo Team Member Handbook operative at that time, and that he
                                            14
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 1 underwriting guidelines, each [of the named Plaintiffs’] loan should have moved forward with an

 2 approval.” Jackson Report at 3. He further rebuts Wells Fargo’s expert witness, Dr. Marsha

 3 Courchane (“Dr. Courchane”) and opines that her opinions “do not reflect Wells Fargo’s stated

 4 policy that it applies similar policies, processes and procedures to each individual loan or financing

 5 application regardless of the loan product.” Id. at 1. Mr. Jackson also “addresses [the alleged]

 6 inconsistencies in Wells Fargo’s origination policies with industry standards, which [allegedly]

 7 result in differences in Wells Fargo’s processes from those of other lenders.” Id. He opines that

 8 “[t]hese [alleged] deviations from accepted underwriting approaches show a pattern or practice that

 9 Wells Fargo has of treating protected class borrowers unfairly” and that “Wells Fargo’s distinct

10 process and reporting policies has resulted in more Minority Applicant incompletes and withdrawals

11 than other lenders.” Id.

12          Mr. Jackson also admitted that he has confidential and proprietary knowledge relevant to

13 Wells Fargo’s defenses, including its use, and incorporation of, the minimum guidelines set forth

14 by the GSEs into its own policies and procedures. Jackson Tran. 123:1-10 (“Q: We touched on this

15 earlier, but what do you mean by a ‘proprietary set of underwriting guidelines’? A: So a lender could

16 have their own underwriting guidelines that, while not superseding the investors’ guidelines, it’s

17 how – what their risk appetite is. So their risk appetite typically would be more stringent than an

18 investor’s. Could be.”).

19          Moreover, Mr. Jackson’s report explicitly discusses Wells Fargo’s proprietary CORE

20 system, which was in place when he worked at Wells Fargo in 2013. See, e.g., Jackson Report at 1,

21 8, 12; see also Declaration 1.

22          Further, he is using his insider knowledge for his own gain—in direct violation of the 2004

23 and 2013 Handbooks. To date, Mr. Jackson has made roughly $75,000 as an expert for Plaintiffs.

24          In short, the confidential and proprietary information about Wells Fargo’s underwriting

25 policies, procedures, and systems that Mr. Jackson acquired while employed by Wells Fargo is

26 relevant to the issues in this litigation. Any argument that Mr. Jackson is somehow capable of

27 compartmentalizing the confidential and proprietary information he learned about Wells Fargo’s

28 underwriting policies, procedures, and systems during his employment, such that his opinion in this
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 1 case is not influenced by that information, fails. In Alien Technology Corp., for example, a former

 2 employee was disqualified from serving as an expert witness because the ex-employer “show[ed] it

 3 had a confidential relationship” with the former employee and that “it disclosed confidential and

 4 privileged information to” to the former employee. No. 3:06-CV-51, 2007 WL 4261972, at *2

 5 (D.N.D. Nov. 30, 2007). In addressing the argument that the former employee worked on a different

 6 product, the Court explained that:

 7          [w]hile Gen-1 and Gen-2 may be very different and while [the former employee]
            may not think at this time any knowledge he gained at [the plaintiff] will be
 8          relevant, the danger is that no one may know how the information he learned from
            [the [plaintiff] may affect his opinion and [the former employee] may
 9          inadvertently use confidential information. The human brain does not
            compartmentalize information in this manner.
10
     Id. at *2 (emphasis added). In other words, the Court recognized that a party cannot definitively
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     assert that a former employee’s proffered expert testimony will not use confidential information
12
     when the objecting party has demonstrated that it shared confidential information that is relevant to
13
     the proffered expert testimony. See generally id. Indeed, the moving party need not show that the
14
     former employee would be rendering an opinion about the exact product that was the subject of his
15
     prior work for the moving party. See generally id.; see also Pellerin, 2012 WL 112539, at *3
16
     (holding that it was unrealistic to believe that former employee could parse his knowledge of the
17
     confidential information he had obtained and only rely the information provided in litigation).
18
            Mr. Jackson possesses confidential and proprietary information about Wells Fargo’s
19
     underwriting policies, procedures, and systems that he will not be able to separate from the
20
     information he solely acquired as a result of the services he is providing Plaintiffs in this litigation.
21
     He should be disqualified.
22
                    B.      The Need To Disqualify Mr. Jackson Is Heightened In This Case Because
23                          He Is Neither Neutral Nor Unbiased.
24          Bias may be appropriate grounds for disqualifying an expert witness entirely where the bias
25 is “of an extraordinary degree.” El Ansari v. Graham, No. 17-CV-3963 (VEC), 2019 WL 3526714,

26 at *8 (S.D.N.Y. Aug. 2, 2019); Chichilnisky v. Trustees of Columbia Univ. in City of New York, No.

27 91-CV-4617 (MJL), 1994 WL 658428, at *2 (S.D.N.Y. Nov. 22, 1994); Lippe v. Bairnco Corp.,

28 288 B.R. 678, 688 (S.D.N.Y. 2003). As explained above, prior to Plaintiffs’ retaining Mr. Jackson
                                            17
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 1 in this case, on March 13, 2022, Mr. Jackson released an episode of his podcast labeled “Banks ain’t

 2 sh*% but H*^% & Tricks” in which he said that Wells Fargo employees “don’t care,” asked “[i]f

 3 anyone’s been denied a mortgage from Wells Fargo, unfairly denied a mortgage at Wells Fargo, any

 4 bank, let me know . . . I need data,” and said that they have to punch them in the face. Mr. Jackson

 5 regularly leverages his insider knowledge of Wells Fargo’s confidential and proprietary

 6 underwriting policies, procedures, and systems in these podcasts, deeming himself as an insider

 7 expert who understands how “the system” is designed to exclude Black people. He uses his

 8 knowledge of the confidential and proprietary information to turn a profit. Consequently, the need

 9 to disqualify Mr. Jackson is underscored in this case because he is not only divulging—or at risk of

10 divulging—Wells Fargo’s confidential and proprietary information in violation of various

11 confidentiality agreements, but also because Mr. Jackson seems to have a personal vendetta against

12 Wells Fargo.

13                  C.     The Principles of Fundamental Fairness and Prejudice Require Mr.
                           Jackson’s Disqualification.
14
            “In addition to the two-prong test, the court should balance competing policy objectives in
15
     determining whether an expert should be disqualified.” Cordy v. Sherwin-Williams Co., 156 F.R.D.
16
     575, 580 (D.N.J. 1994) (disqualifying expert who had previously received confidential information
17
     from opposing side). “The policy objectives that favor disqualification include the court’s interest
18
     in preventing conflicts of interest and in maintaining judicial integrity.” Id. Considerations of
19
     fundamental fairness include whether the adverse party would be prejudiced by disqualification.
20
     Simons v. Freeport Memorial Hospital, No. 06 C 50134, 2008 WL 5111157, at *5–6 (N.D. Ill. Dec.
21
     4, 2008); see Pellerin, 2012 WL 112539, at *3 (excluding an expert witness when the party opposing
22
     exclusion made no showing of how it would be prejudiced).
23
            Here, Wells Fargo would be severely prejudiced in having a former employee with
24
     confidential and proprietary knowledge and publicly displayed vitriol against the bank (and the
25
     mortgage industry in general) take the stand cloaked with the authority of an expert witness (in
26
     direct violation of his various agreements with Wells Fargo). Mr. Jackson has already breached his
27
     agreements with Wells Fargo. By designating Mr. Jackson and forcing Wells Fargo to file this
28
                                            18
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 1 motion, Plaintiffs have further destroyed the confidentiality that Wells Fargo and Mr. Jackson

 2 bargained for. Indeed, it is unclear how Wells Fargo could adequately depose or cross-examine Mr.

 3 Jackson without risking breaching its own agreements.

 4          In contrast, Plaintiffs would not be prejudiced in taking some limited time to find a

 5 replacement rebuttal expert. In fact, that is precisely the solution to this quagmire that Wells Fargo

 6 offered to Plaintiffs. Plaintiffs cannot claim—and Mr. Jackson’s CV certainly does not suggest—

 7 that he is the only known expert in the field of underwriting. In fact, this is only Mr. Jackson’s

 8 second expert engagement. His area of expertise is “not unique nor so obscure that there are no

 9 other individuals with credentials in the same field.” See Veazy v. Hubbard, No. 08-00293 HG-

10 LEK, 2008 WL 5188847, at *8 (D. Haw. Dec. 11, 2008) (finding disqualification would not

11 prejudice the party opposing disqualification).         Indeed, there are numerous professional

12 organizations for underwriters nationwide, including the National Association of Mortgage

13 Underwriters. Accordingly, fundamental fairness favors disqualification.

14                  D.     If The Court Does Not Disqualify Mr. Jackson, Wells Fargo Seeks A
                           Short Extension of the Discovery Deadline For The Limited Purpose Of
15                         Deposing Mr. Jackson.
16          After Plaintiffs designated Mr. Jackson as an expert witness on March 22, 2024, Wells Fargo
17
     noticed Mr. Jackson’s deposition for April 11, 2024. Wells Fargo was able to find the various
18
     confidentiality agreements that are the subject of the instant motion shortly before the deposition,
19
     hindered by the fact that Mr. Jackson submitted a misleading CV omitting his 2013 stint at the bank.
20

21 To avoid any argument by Plaintiffs that Wells Fargo waived its right to object to Mr. Jackson or to

22 enforce its confidentiality agreements with Wells Fargo, Wells Fargo cancelled the deposition and

23 promptly prepared the instant Motion. See In re Incretin Mimetics Products Liability Litigation,

24
     No. 13md2452 AJB (MDD), 2015 WL 1499167, at *3 (S.D. Cal. Apr. 1, 2015) (“Plaintiffs argue
25
     that Defendants’ motions to disqualify are untimely and that Defendants waived any objection to
26
     Dr. Fleming by not immediately moving to disqualify him after receipt of his designation as an
27
     expert for Plaintiffs”); Bell Northern Res. LLC, 2019 WL 1590472, at *4-5 (litigating whether one
28
                                            19
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 1 party had waived disqualification challenge to consultant possessing confidential knowledge from

 2 prior relationship).

 3
              Based on the foregoing, should the Court decide not to wholly disqualify Mr. Jackson from
 4
     serving as an expert witness in this case, Wells Fargo respectfully requests a brief extension of the
 5
     discovery deadline for the sole purpose of deposing Mr. Jackson. Wells Fargo requests leave to
 6
     issue additional requests for the production of documents and things, so that Wells Fargo can obtain
 7
     any and all podcast episodes or other materials Mr. Jackson has posted online or in the public domain
 8
     that may reference Wells Fargo including any efforts to destroy or any that were improperly
 9
     destroyed. Such an accounting of the spoilation is necessary to avoid any further prejudice to Wells
10
     Fargo.
11
              IV.    CONCLUSION
12
              For the foregoing reasons, Defendant Wells Fargo Bank, N.A. respectfully requests that the
13
     Court grant is motion to disqualify Plaintiffs’ rebuttal expert Dante Jackson.
14

15 DATED:            April 12, 2024        MCGUIREWOODS LLP

16
                                           By:     /s/ Ava Lias-Booker
17                                                 Ava E. Lias-Booker (admitted pro hac vice)
                                                   alias-booker@mcguirewoods.com
18                                                 Alicia A. Baiardo
                                                   abaiardo@mcguirewoods.com
19                                                 Jasmine K. Gardner (admitted pro hac vice)
                                                   jgardner@mcguirewoods.com
20                                                 Two Embarcadero Center, Suite 1300
                                                   San Francisco, CA 94111-3821
21                                                 Telephone: (415) 844-9944
                                                   Facsimile: (415) 844-9922
22

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 1                                    WINSTON & STRAWN LLP
                                       /s/ Amanda L. Groves
                                      ______________________________
 2                                    Amanda L. Groves
                                      agroves@winston.com
 3                                    333 S. Grand Avenue, 38th Floor
                                      Los Angeles, CA 90071
 4                                    Telephone: (213) 615-1700
                                      Facsimile: (213) 615-1750
 5
                                      Kobi K. Brinson (admitted pro hac vice)
 6                                    kbrinson@winston.com
                                      Stacie C. Knight (admitted pro hac vice)
 7                                    sknight@winston.com
                                      300 South Tryon Street, 16th Floor
 8                                    Charlotte, NC 28202
                                      Telephone: (704) 350-7700
 9                                    Facsimile: (704) 350-7800

10                                    Attorneys for Defendant Wells Fargo Bank, N.A.

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 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on April 12, 2024, the foregoing was filed electronically in this Court's

 3 Electronic Case Filing system ("ECF"); thereby upon completion the ECF system automatically

 4 generated a Notice of Electronic Filing ("NEF") as service through CM/ECF to registered e-mail

 5 addresses of parties of record in the case.

 6

 7                                                          /s/ Ava Lias-Booker
                                                              Ava Lias-Booker
 8

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                                        CERTIFICATE OF SERVICE
